        Case 1:17-cv-02989-AT         Document 148     Filed 03/21/18   Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


 DONNA CURLING, et al.,
                        Plaintiffs,                    CIVIL ACTION FILE
                                                       NO. 1:17-cv-2989-AT
 BRIAN P. KEMP, et al.,


                       Defendants.

                                        JUDGMENT

       This action having come before the Court, the Honorable Amy Totenberg, United

States District Judge,, it is

       Ordered and Adjudged that the civil action be and the same hereby is DISMISSED

pursuant to Local Rule 41.3A(2) for his refusal to obey a lawful Order of the Court.

       Dated at Atlanta, Georgia, this 21st day of March, 2018.


                                                         JAMES N. HATTEN
                                                         CLERK OF COURT


                                                 By:     s/Jill Ayers
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
March 21, 2018
James N. Hatten
Clerk of Court

By:    s/Jill Ayers
       Deputy Clerk
